                    Case 23-20500-MAM         Doc 43     Filed 03/26/24    Page 1 of 67
                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                                                              -
                                                                                                  ~    -

                                                                                                  _.- .. .:
                                                                                                           ... ,   -   ,"-,.



                             WEST PALM BEACH DIVISION

Debtor: LENNIE TIMOTHY ALLEN                        CASE NO.:23-20500-MAM
AKA: LENNIE ALLEN                                   CHAPTER 13


                  OBJECTION TO CONFIRMATION OF 1st & 2nd AMENDED CHAPTER 13 PLAN



former spouse/Creditor, Leslie J. Volpe, objects to confirmation of 1ST AND 211 d Amended Chapter 13 Plans and
                                                                                                                               L-/ I
states:

I, Leslie J. Volpe, hereby submit this objection to the confirmation of Bankruptcy Plan proposed in the above
referenced bankruptcy case. Our 7-year-old daughter and I are affected by this plan and I assert the following
objections:



   1. The MSA in our divorce serves as a form of support for the former spouse and minor child to rebuild
      post-divorce.
   2. Debtor agreed to the MSA only a little over a year before filing Chapter 13 (October 2022)
   3. Debtor owes $60,000 of support from the MSA
   4. Debtor, unethically sent Magistrate a letter, Ex-Parte communication at the Motion for Contempt
      and/or Enforcement hearing on October 4, 2023, stating

              "Is is my intent to make good on my promise to honor my commitment to my daughter as well
              as my former wife", A stark contrast to the current bankruptcy plan.

   5. There was over $210,000 in the bank account as of October 2021 at the time of divorce filing.

    6. Debtor intentionally liquidated $122A92 of funds within 8 months, by exhausting the marital account
instead of continuing/seeking employment, far exceeding the lifestyle during the marriage. See filed Motion to
Freeze and bank statements.

  7. Debtor, is also an attorney in good standing and could have easily retained employment, therefore filed
Chapter 13 to avoid his family obligations of paying the MSA.


   8. Debtor provided lack of full disclosure to bankruptcy court, by not listing the Marital Settlement
      Agreement (MSA) as a debt and is misleading the court saying he is current on child support
      obligations.
   9. As of date, Debtor still owes $1,379.86 on past due ( from last hearing, October 2023- February 2024)
      in monthly child reimbursements/child support which are to be paid within 15 days of receipt by
      Debtor. He is provided receipts for reimbursement monthly.



                                                                                                                                  1
                        Case 23-20500-MAM     Doc 43     Filed 03/26/24     Page 2 of 67

   10. Debtor has and is currently working as a Business Consultant with over 25 years of experience. He
       earned over $1,000/day during the marriage up until the filing of divorce (electively), and is currently
       earning the same therefore, exhibiting the ability to easily fulfill the MSA.


   The proposed Bankruptcy plan fails to consider several relevant factors as follows:


       A. The Debtor caused over 40K in unnecessary legal fees, exhausting former spouse's funds.
       B. Former Spouse had to cancel her life insurance policy to create a small emergency fund due to
          Debtor's refusal to pay.
       C. Former Spouse had to relocate to her childhood home to raise the minor child, in a lower Socio
          Economic Status community, complete contrast from what the child was accustomed to during the
          marriage, the MSA was intended as support to allow the child a comparable living.
       D. Debtor scurried to pay past due child support values at the last bankruptcy court hearing, but a
          balance remains
       E. Current plan shows Debtor's counsel being paid $5800 at $1,071.60 for month's 1-5, close in
          number to Debtor's monthly MSA payment of $1,000/month. If Debtor's budget allows such a
          monthly payment to his attorney, he surely can pay the same amount for the MSA.


       In our case, the MSA was created as support for the former wife and child.

       Our MSA's purpose is to lessen the financial burden caused by the divorce, and to support the mother
       and child in regaining footing.

       For the reasons stated above, I respectfully request that the court denies confirmation of the proposed
       Amended Bankruptcy Plan and for the MSA to be non-dischargeable along with any further relief the
       Court deems appropriate.

       Thank you for your attention to this matter.


......_ ~Sincer~ly, .      /

          ~ /J_(/iJJ!jk-
       fes1ie J. ~~
       1211 Rutland Street
       Opa locka, FL 33054
       786-237-9890
       Ljdenn isOO@yahoo.com
       Prose

       [Enclosures: MSA;bank statements;monthly reimbursements;debtor's income;Motion To Freeze;
       Debtor's CV/Resume]

       Emailed copy provided to
                                                                                                                  2
            Case 23-20500-MAM         Doc 43   Filed 03/26/24   Page 3 of 67


Edward N. Port
Debtor's Counsel
eport@portlawfrrm.com


Matthew T. Girardi
Senior Staff Attorney, Robin Weiner
Standing Chapter 13 Trustee
matt@ch13weiner.com




                                                                               3
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 4 of 67




      \}_? ~o\-t-                       d ~ e_
                    -\-o
        h~r- s ~o~ e_
               Case 23-20500-MAM        Doc 43     Filed 03/26/24     Page 5 of 67




                             KATHRYN M. BEAMER, P.A.
                         11811 U.S. Highway One, Suite 102
                            North Palm Beach, FL 33408
                         Email: kathrynbeamerpa@gmail.com
                                  Phone: 561-686-0803
                                 Facsimile: 561-686-7397
Board Certified in
Marital and Family Law

                                          May 24, 2022
Leslie Allen
6929 College Court
Davie, FL 33317
 Via Email: LidennisOO@val,oo.com

       Re:      Tlie Marriage ofAllen

Dear Leslie:

It is time to really examine you property rights in your dissolution of marriage proceeding.

Your Husband's home was purchased prior to the marriage and is in his name alone. That does not
preclude you from an equitable interest in the property. F.S. 61.075 (6)1 gives us the formula the
court uses to detennine the marital interest in the property. First is the reduction in the principal
balance of the mortgage from date of marriage ($239,291) to date of filing ($174,239) which totals
$65,052. The second part is the passive increase in the value of the home under a certain formula.
We need to know the value of the home on date of marriage and the value now to determine your
entitlement. The numerator in the formula is the $65,052, the denominator is the value of the home
at the date of marriage and this is multiplied by the increase in the value of the home during the
marriage. We obviously need to get the home appraised to accurately determine your entitlement.
As an example, if the home was worth $300,000 on the date of marriage and $575,000 now, the
passive increase in value would be $275,000. The formula is $65,052 divided by $300,000 times
$275,000 or $59,631. So the marital portion would be $65,052 plus $59,631. You would be
entitled to one half or $62,341.50 So our task is to determine the value of the home on date of
marriage and the current value to get you an accurate calculation.

Second, you have a 50% interest in the Rohinhood fund which was purchased during the marriage
along with 50% of the contents of all marital bank accounts regardless of the title on the account.

Third, you have a 50% interest in the value of Summit Consulting which was valued at $210,492 on
the date of filing of the petition for dissolution.
                  Case 23-20500-MAM                   Doc 43   Filed 03/26/24   Page 6 of 67




Leslie Allen
May 24, 2022
Page Two


With your permission, I will employ a property appraiser. I appreciate your limited resources but
we need to do this to solidify your entitlement to passive appreciation. Please advise. Thank you.




                                    R

/km

W:\ALLEN, LESLIEILETIERS\Ltr to client 5-24-22. wpd
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 7 of 67
                       Case 23-20500-MAM       Doc 43     Filed 03/26/24     Page 8 of 67
Filing# 156483852 E-Filed 08/31/2022 10:22: 14 AM



                                             IN THE CIRCUIT COURT OF THE FIFTEENTH
                                             JUDICIAL CIRCUIT OF FLORIDA, IN AND
                                             FOR PALM BEACH COUNTY.
                                             FAMILYLAWDMSION

                                             CASE NO. 50 2021 DR 8129 FI
        INRE: THEMARRIAGEOF

        LENNIE TIMOTHY ALLEN,
                   Petitioner/Husband,
        and
        LESLIE ALLEN,
                   Respondent/Wife.
                                               I
                             RESPONDENT/WIFE'S MOTION TO FREEZE

               COMES NOW the Respondent/Wife, LESLIE ALLEN, by and through undersigned counsel

        and moves this Honorable Court to freeze certain assets of the Petitioner/Husband and, as grounds

        therefore, would show as follows:

        1.     The parties have been married since May 9, 2016.

        2.     The Petitioner filed his Petition for Dissolution of Marriage on September 29, 2021.

        3.     At the time of filing the Petition for Dissolution, the Husband was holding $210,492 in his

               business account at TD Bank in the name of Summit Consulting Solutions, LLC (account

               number ending *9573).

        4.     The Husband testified at the temporary relief hearing on June 28, 2022 that as of that date,

               the TD Bank account had a balance of $88,000. The Husband has removed approximately

               $122,492 in just 8 months, far exceeding their lifestyle.

        5.     Throughout this litigation, the Husband is using the account to pay his personal expenses

               while not working to earn a living. As stated in Court, he has only worked three days in

               2022.
                  Case 23-20500-MAM                Doc 43         Filed 03/26/24   Page 9 of 67




In Re: The Marriage ofAllen
Case No: 2021 DR 8129 Fl
Wife's Motion to Freeze

6.       The Wife is deeply concerned that the Petitioner has or will deplete this marital asset and that

         there will be little left to provide her with equitable distribution or support and requests the

         TD Bank account be frozen in an effort to protect the assets.

         WHEREFORE, the Respondent/Wife, LESLIE ALLEN prays this Court enter an injunction

freezing the Petitioner's TD Bank account (*9573) to prevent the removal of marital assets and such

other and further relief as the Court deems just and proper.

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

Eservice to: service@glassmanlaw.net Scott Glassman, Esq., 101 Northpoint Parkway, West Palm

Beach, FL 33407 this 31 st day of August, 2022.


                                                                   KATHRYN M. BEAMER, P.A.
                                                                   Attorney for the Respondent/Wife
                                                                   11811 U.S. Highway One, Suite #102
                                                                   North Palm Beach, FL 33408
                                                                   Eservice: kathrynbeamerpa@gmail.com
                                                                   Telephone: (561) 686-0803

                                                                   By: Isl Kathryn M Beamer
                                                                       KATHRYN M. BEAMER
                                                                       Florida Bar No.: 275026
W:IALLEN, LESLIE\PLEADINGS\W'S MOTION TO FREEZE 8-31-22.wpd




                                                              2
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 10 of 67




             L)\ \JD\Lt?__                     ~\ \;_ (\_J


                    h(\d
     C)~ ()\- (OVJ\~
                         de_~o ~ t+-s
               Case 23-20500-MAM                Doc 43           Filed 03/26/24               Page 11 of 67

   mJ Bank  America's Most Convenient Bank•                       E          STATEMENT OF ACCOUNT




   SUMMIT CONSULTING SOLUTIONS LLC                                           Page:                                              1 of 5
   14578 ORANGE BLVD                                                         Statement Period:               Oct 01 2021-Oct 31 2021
   LOXAHATCHEE FL 33470                                                      Cust Ref#:                        4356879573-713-E-***
                                                                             Primary Account #:




TD Business Simple Checking
SUMMIT CONSUL TING SOLUTIONS LLC                                                                                      Account#                    3573


ACCOUNT SUMMARY
Beginning Balance                   210,492.61                                        Average Collected Balance                          190,365.27
Electronic Deposits                   6,400.99                                        Interest Earned This Period                              0.00
                                                                                      Interest Paid Year-to-Date                               0.00
Checks Paid                           4,100.00                                        Annual Percentage Yield Earned                         0.00%
Electronic Payments                  33,111.49                                        Days in Period                                             31
Other Withdrawals                     6,008.00
Service Charges                          10.00
Ending Balance                      173,664.11




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                                                                   AMOUNT

10/12             DEBIT CARD CREDIT, AUT 101121 VISA ODA REF                                                                                    400.99
                      WORLDREMIT                 DENVER             * CO
                      4085404021482983
10/18             eTransfer Credit, Online Xfer                                                                                             6,000.00
                      Transfer from CK 4378148104

                                                                                                             Subtotal:                      6,400.99
Checks Paid       No. Checks: 2    *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments

DATE            SERIAL NO.                  AMOUNT

10/14           296                        1,150.00
10/13           297                        2,950.00
                                                                                                             Subtotal:                      4,100.00
Electronic Payments                     "). \~ t'('\,\)\) \ i'\.4           ~ -L., al ,.... ,.._r,
POSTING DATE      DESCRIPTION       _//                               j                             I V        ~\\....._. \'""'-                AMOUNT

10/01             DEBIT CARD PURCHASE AUT 093021 VISA DOA PUR                                                                                   400.99
                      WORLDREMIT                 888 772 7771 * CO
                      4085404021482983
10/01             DEBIT CARD PURCHASE, AUT 093021 VISA DOA PUR                                                                                  400.99
                      WORLDREMIT                 888 772 7771 * CO
                      4085404021482983
10/01             DEBIT CARD PURCHASE, AUT 093021 VISA DOA PUR                                                                                  400.99
                      WORLDREMIT                 888 772 7771 * CO
                      4085404021482983
10/01             DEBIT CARD PURCHASE, AUT 093021 VISA DOA PUR                                                                                  400.99
                      WORLDREMIT                 888 772 7771 * CO
                      4085404021482983



Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
  Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 12 of 67




j_ I\ VD~ OIS
      D\\\ed       i-o
                 €~~ lo~e,r
       ~ \)___-\> ?orti t\_j o\ eros rT__s
                 -
                lf\W O.CCouA+
                {10M                ()J orK
                        Case 23-20500-MAM         Doc 43   Filed 03/26/24        Page 13 of 67

                                                                          Summit Consulting Solution LLC
                                                                                         Lennie T. Allen




                                                                                                   Invoice
Bill To:                                                            Invoice No.: 060      Summit Consulting Solutions
                                                                                          LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                     Lennie Allen




       Date

   01/23/2021



    Quantity              Description      Billing Rate     Total

1 week:            Business Consulting     5 Days x           $5000
                   Services                $1000.00
           01/18   Jan. 18, 2021 to Jan.
           01/19   22, 2021
           01/20
                   Project Number:2016
           01/21
           01/22




                                                                                             Subtotal:       $5000.00

                                                                                                  Tax:
                                                                                          Balance Due:       $5000.00
                         Case 23-20500-MAM         Doc 43   Filed 03/26/24       Page 14 of 67

                                                                           Summit Consulting Solution LLC
                                                                                                 Lennie T. Allen




                                                                                                   Invoice
Bill To:                                                            Invoice No.: 061     Summit Consulting Solutions
                                                                                         LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                    Lennie Allen




       Date

   01/30/2021


    Quantity               Description      Billing Rate    Total
1 week:             Business Consulting     6 Days x          $6000
                    Services                $1000.00
           01/25
           01 /26   Jan. 18, 2021 to Jan.
                    22, 2021
           01/27
           01 /28
                    Project Number:2016
           01/29
           01/30




                                                                                            Subtotal:      $6000.00
                                                                                                  Tax:
                                                                                         Balance Due:      $6000.00
                        Case 23-20500-MAM      Doc 43   Filed 03/26/24        Page 15 of 67

                                                                       Summit Consulting Solution LLC
                                                                                              Lennie T. Allen




                                                                                                Invoice
                                                                 Invoice No.: 062      Summit Consulting Solutions
Bill To:
                                                                                       LLC
The Powers Company
119 Main Street, NW
                                                                                       Lennie Allen
Gainesville, GA 30501




       Date
   02/06/2021



    Quantity              Description    Billing Rate    Total

1 week:            Business Consulting                     $4000
                                         4 Days x
                   Services
           01/31                         $1000.00
                   Jan. 31, 2021 to
           02/01
                   Feb. 03, 2021
           02/02
           02/03
                   Project Number:2016




                                                                                           Subtotal:      $4000.00

                                                                                                Tax:
                                                                                       Balance Due:        $4000.00
                                     Case 23-20500-MAM                             Doc 43   Filed 03/26/24        Page 16 of 67
                                                               .
                                                .f'!«       "- ~./   ;r,J                                  Summit Consulting Solution LLC
~~ ~                jl   -   ~   ~     ~~   n   ""'     ,
                                                                                                                          Lennie T. Allen




                                                                                                                                    Invoice
                                                                                                     Invoice No.: 064      Summit Consulting Solutions
Bill To:
                                                                                                                           LLC
The Powers Company
119 Main Street, NW
                                                                                                                           Lennie Allen
Gainesville, GA 30501




          Date

       02/19/2021


       Quantity                       Description                           Billing Rate     Total

1 week:                      Business Consulting                                               $5000
                                                                            5 Days x
           02/15             Services Feb. 15,
                             2021 to Feb. 19,                               $1000.00
           02/16             2021
            02/17            Project Number:2016
            02/18
            02/19




                                                                                                                               Subtotal:      $5000.00
                                                                                                                                    Tax:
                                                                                                                           Balance Due:        ssooo.oo
                         Case 23-20500-MAM       Doc 43   Filed 03/26/24       Page 17 of 67

                                                                        Summ·it Consul ting Solution LLC
                                                                                               Lennie T. Allen




                                                                                                 Invoice
Bill To:                                                          Invoice No.: 065     Summit Consulting Solutions
                                                                                       LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                  Lennie Allen




       Date

   02/27/2021


    Quantity              Description    Billing Rate     Total
1 week: 02/22      Business Consulting                      $6000
                   Services Feb. 22,     6 Days x
           02/23                         $1000.00
                   2021 to Feb. 27,
           02/24   2021
           02/25   Project Number:2016
           02/26
           02/27




                                                                                          Subtotal:      $6000.00
                                                                                                Tax:
                                                                                       Balance Due:      $6000.00
                        Case 23-20500-MAM        Doc 43   Filed 03/26/24       Page 18 of 67

                                                                        Summit Consulting Solution LLC
                                                                                               Lennie T. Allen




                                                                                                 Invoice
Bill To:                                                          Invoice No.: 066     Summit Consulting Solutions
                                                                                       LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                  Lennie Allen




       Date
   03/06/2021



    Quantity              Description     Billing Rate    Total

1 week:            Business Consulting                      $4000
                   Services Feb. 28,      4 Days x
           02/28                          $1000.00
                   2021 to Mar. 03,
           03/01   2021
           03/02   Project Number: 2016
           03/03




                                                                                          Subtotal:       $4000.00

                                                                                                Tax:
                                                                                       Balance Due:       $4000.00
                        Case 23-20500-MAM       Doc 43   Filed 03/26/24       Page 19 of 67

                                                                       Summit Consulting Solution LLC
                                                                                      Lennie T. Allen




                                                                                                Invoice
Bill To:                                                         Invoice No.: 067      Summit Consulting Solutions
                                                                                       LLC
The Powers Company
119 Main Street, NW
GaineSVille, GA 30501                                                                  Lennie Allen




       Date

   03/13/2021


    Quantity              Description    Billing Rate    Total

1 week:            Business Consulting                     $5000
                   Services Mar. 08,     5 Days x
           03/08   2021 to Mar. 12,      $1000.00
           03/09   2021
           03/10   Project Number:2016
           03/11
           03/12




                                                                                          Subtotal:       $5000.00
                                                                                               Tax:
                                                                                      Balance Due:        $5000.00
                            Case 23-20500-MAM      Doc 43   Filed 03/26/24       Page 20 of 67

                                                                          Summit Consulting Solution LLC
                                                                                                 Lennie T. Allen




                                                                                                   Invoice
Bill To:                                                            Invoice No.: 068      Summit Consulting Solutions
                                                                                          LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                     Lennie Allen




       Date

   03/20/2021


    Quantity                 Description    Billing Rate    Total

1 week:              Business Consulting                      $5000
                     Services Mar. 15,      5 Days x
           03/15     2021 to Mar. 19,       $1000.00
           03/16     2021
           03 / 17   Project Number: 2016
           03/18
           03/19




                                                                                             Subtotal:       $5000.00
                                                                                                  Tax:
                                                                                         Balance Due:        $5000.00
                        Case 23-20500-MAM           Doc 43   Filed 03/26/24       Page 21 of 67

                                                                           Summit Consulting Solution LLC
                                                                                                  Lennie T. Allen




                                                                                                    .   .
                                                                                                    1nvo1ce
Bill To:                                                             Invoice No.:200       Summit Consulting Solutions
                                                                                           LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                      Lennie Allen




       Date
   05/01/2021



    Quantity             Description         Billing Rate    Total

     1 week:     Business Consulting         5 Days x          $5000
      04/25      Services                    $1000.00
      04/26      Apr. 25, 2021 to Apr. 29,
      04/27      2021
      04/28
      04/29       Project Number: 2109




                                                                                              Subtotal:       $5000.00
                                                                                                   Tax:
                                                                                          Balance Due:        $5000.00
                        Case 23-20500-MAM         Doc 43   Filed 03/26/24       Page 22 of 67

                                                                          Summit Consulting Solution LLC
                                                                                         Lennie T. Allen
                                                                                                 ~1+:,:5 ,J~c.·-£c_, S:-_;,J:'.?\2."¥
                                                                                                  LC:<<3:'c~::-.ee      F' .:347:




                                                                                                    •                   •
                                                                                                   1nvo1ce
Bill To:                                                           Invoice No.:212       Summit Consulting Solutions
The Powers Company                                                                       LLC
119 Main Street, NW
Gainesville, GA 30501                                                                    Lennie Allen




       Date
   07/30/2021



    Quantity            Description        Billing Rate    Total
    1 week:      Business Consulting       5 Days x          $5000
     07/26       Services                  $1000.00
     07/27       July. 26, 2021 to July.
     07/28       30, 2021
     07/29
     07 I 30     Project Number: 2116




                                                                                           Subtotal:               $5000.00
                                                                                                Tax:
                                                                                        Balance Due:               $5000.00
                        Case 23-20500-MAM           Doc 43   Filed 03/26/24        Page 23 of 67

                                                                             Summit Consulting Solution LLC
                                                                                                   Lennie T. Allen




                                                                                                     •           •
                                                                                                     1nvo1ce
Bill To:                                                              Invoice No. :215      Summit Consulting Solutions
The Powers Company                                                                          LLC
119 Main Street, NW
Gainesville, GA 30501                                                                       Lennie Allen




       Date
   08/21/2021



    Quantity             Description         Billing Rate     Total
    1 week:      Business Consulting         5 Days x           $5000
     08/16       Services                    $1000.00
     08/17       Aug. 16, 2021 to Aug. 20,
     08/18       2021
     08/19
     08/20       Project Number: 2116




                                                                                              Subtotal:       $5000.00

                                                                                                   Tax:
                                                                                           Balance Due:       $5000.00
                                  Case 23-20500-MAM                         Doc 43   Filed 03/26/24       Page 24 of 67
                                                            .                                      Summit Consulting Solution LLC
                                                        ''\.        .
>;    .;_   '       /'        1                 •   •   '       >
                                                                                                                  Lennie T. Allen




                                                                                                                            •          •
                                                                                                                            1nvo1ce
     Bill To:                                                                                Invoice No.:218      Summit Consulting Solutions
                                                                                                                  LLC
     The Powers Company
     119 Main Street, NW
     Gainesville, GA 30501                                                                                         Lennie Allen




                  Date
            09/18/2021



                Quantity          Description                       Billing Rate     Total
                1 week:    Business Consulting                      5 Days x           $5000
                 09/13     Services                                 $1000.00
                 09 / 14   Sept. 13, 2021 to Sept.
                 09/15     17, 2021
                 09/16
                 09/ 17    Project Number: 2116




                                                                                                                      Subtotal:      $5000.00
                                                                                                                           Tax:
                                                                                                                  Balance Due:      $5000.00
                        Case 23-20500-MAM          Doc 43   Filed 03/26/24      Page 25 of 67

                                                                          Summit Consulting Solution LLC
                                                                                         Lennie T. Allen




                                                                                                  •           •
                                                                                                  1nvo1ce
Bill To:                                                            Invoice No.:230      Summit Consulting Solutions
                                                                                         LLC
The Powers Company
119 Main Street, NW
Gainesville, GA 30501                                                                    Lennie Allen




       Date
   11/13/2021



    Quantity            Description         Billing Rate    Total
    1 week:      Business Consulting        6 Days x          $6000
      11/8       Services                   $1000.00
      11/9       Nov.08, 2021 to Nov. 13,
     11 /10      2021
    11/11'
     11 / 12     Project Number: 2132
     11 / 13




                                                                                           Subtotal:       $6000.00
                                                                                                Tax:
                                                                                        Balance Due:       $6000.00
                                                       Case 23-20500-MAM                  Doc 43        Filed 03/26/24           Page 26 of 67



                                        C Vo      5




 Lennie Allen - Management Consultant
                                   QUALIFICATIONS & HIGHLIGHTS
                                   Lennie Allen is a highly effective results driven management consulting professional with over 20 years of substantive industry experience. A
                                   proven ability to operationalize strategic client objectives by collaborating directly with C-Suite executives in the process of defining problem
                                   areas and implementing solutions specifically tailored to clients' needs. Producing sustainable step-change value reflecting financial,
                                   operational, administrative, sales and logistical performance improvements in an array of industries including banking, manufacturing, food
                                   processing, packaging, sales, insurance, communications, and natural resources. Successfully lead engagements in multicultural environments
                                   and locations including Europe, South Africa, South America, Botswana, and the Caribbean . Established record of developing long lasting client
                                   relationships and known for client-centric focus while maintaining steadfast adherence to the highest levels of professionalism.




-
8UTTEIIIAU:
                 DEBSWANA(ID




                 BARCLAYS
              '\.TAMPA MAI Ps •
                                   REPRESE NTATIVE EXP ERIE NCE
                                   •
                                   •
                                   •
                                   •
                                       Barclays (ABSA) : Organizational alignment, productivity, and client onboarding process improvement
                                       BASF: Revenue Enhancement
                                       Rogers Communications: Productivity and process re-engineering
                                       Triumph Group: Productivity and cost reduction
                                       General Dynamics: Service delivery optimization and process improvement
:iENERAL
:>VNAIVIICS
                           Im\     •   Convatec : Productivity, revenue enhancement , sales force training & coaching
                 ConvaTec ~        •   Chevron: Throughput, maintenance & reliability
                                   •   Metlife: Productivity & process re-engineering
                   (!_~
                                   •   Foster Farms: Throughput and yield


                   ---
                   ABSA


              D RIDGESTOnE •
                                   •
                                   •
                                   •
                                       Butterball : throughput
                                       Oatka : throughput, and productivity
                                       Federal Reserve Bank: Process re-engineering
                                       Bridgestone: Organizational alignment and productivity
Chevron          ,---. '--,        •   Tampa Maid: Throughput and productivity
                                       Debswana (DeBeers): Executive and supervisor performance coaching and development
                                   EDUCATION/CERTIFICATION
           Q RQ GERS Juris Doctorate, Marshall-Wythe School of Law, The College of William & Mary, Williamsburg Va .
    _      ~                     • Institute of International and Compa rative Law, University of San Diego Law, Paris, France
    i \~   li.       hG            B.S., Economics and Business Admin istration , Howard University, Washington D.C.
           , ,nump        roup
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 27 of 67




Wo\h
   \)e~ \\Cli1 E) f'\
              c~ll~
             Case 23-20500-MAM       Doc 43    Filed 03/26/24   Page 28 of 67




Destination          dates                       Deposits to    Invoices   Deposits to
                                                 personal                  Summit
                                                 account
                    November 2020                                          $42103.02
Sacramento           12/6 to 12/16                                         22,413.63
Sacramento           01/08/2021 to 1/15/2021                               $36,919
                     1/17/21 to 1/22/21
                     1/24/21 to 2/3/21
Sacramento          2/7/21 to 2/12/21                                      $25,591.20
                    2/14/21 to 2/19/21
                    2/21/21 to 3/3/21
                    2/21/21
Sacramento           3/7/21 to 3/11/2021                                   $26,281.96
                     3/14/21 to 3/18/21
                     3/21/21 to 3/25/2021
Alexandria          4/1/21 to 4/321                                        $18,296.48
                    4/3/21 to 4/5/21
                    4/18/21 to 4/29/21


Marco Island         5/5/21 to 5/7/21                                      12,166.48
Lakeland             5/16/21 to 5/21/21
                     5/23 to 5/28
Lakeland             6/1/21 to 6/4/21            $1,000         $4000      $23,248.82
                     6/6/21 to 6/11/21           $1,000         $5000
                     6/13/21/ to 6/18/21         $1500          $5000
                     6/21/21 to 6/25/21                         $5000
                     6/27/21 to 7/2/21                          $5000
Lakeland             7/2/21 tp 7/9/21            $1,000         $4000      $23,360.27
Savannah             7/10/21 to 7/11/21          $2,000
Lakeland             7/11/21 tp 7/16/21                         $5000
                     7/18/21 to 7/23/21                         $5000
                     7/26/2021 to 7/30/21                       $5000
Lakeland             8/2/21 to 8/6/21            $1,000         $5000      $24.36210
DC                   8/6/21 to 8/8/21            $4,000
                     8/8/21 to 8/13/21           $1,500         $5000
Lakeland             8/15/21 to 8/20/21                         $5000
                     8/21/21 to 8/29/21                         $5000
                     8/29/21 to 9/4/21                          $5000
              Case 23-20500-MAM     Doc 43   Filed 03/26/24   Page 29 of 67




 Lakeland            9/6/21 to 9/10/21         $1,500         $4000      $29,708.83
                     9/7/21 to 9/17/21         $2,000         $5000
                                               $8,529                    $6400.99
                                               (FEMA)

 Wisconsin           11/7/21 to 11/16/21       0              $6000      $11,265.57
                     11/17//21 tol 1/21/21                    $2000

... . .   .
                                                                         $302,118
                       ···r-
   Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 30 of 67




            11
Debto s
                                          '
           Co2o E 202- I             \.




                            ( aY-es /)09C/
                             Case 23-20500-MAM                                Doc 43              Filed 03/26/24                    Page 31 of 67


2020                                               FEDERAL INCOME TAX SUMMARY                                                                                       PAGE1
                                                                                  LENNIE ALLEN                                                                           8590


 INCOME
   BUSINESS INCOME ............................................................................... .                                                                 31,200
   RENT, ROYALTY, PARTNERSHIP, SCORP, TRUST ......................................... .                                                                              80,231
   TOTAL INCOME . . . . . . . . . . . . . . . . . . . . . ............................................................. .                                           111,431
 ADJUSTMENTS TO INCOME
   DEDUCTIBLE PART OF SELF-EMPLOYMENT TAX ........................................... ..                                                                              2,205
   TOTAL ADJUSTMENTS ............................................................................ .                                                                   2,205
   ADJUSTED GROSS INCOME ...................................................................... .                                                                   109,226
 ITEMIZED DEDUCTIONS
   TAXES .............................................................................................. .                                                            4,087
   INTEREST.......................................................................................... .                                                             10,093
   TOTAL ITEMIZED DEDUCTIONS ................................................................ .                                                                     14,180
 TAX COMPUTATION
   STANDARD DEDUCTION .......................................................................... .                                                                  12,400
   LARGER OF ITEMIZED OR STANDARD DEDUCTION ........................................ ..                                                                             14,180
   QUALIFIED BUSINESS INCOME DEDUCTION................................................. .                                                                           19,009
   TAXABLE INCOME ................................................................................ .                                                                76,037
   TAX BEFORE CREDITS .......................................................................... .                                                                  12,516
 CREDITS
   TOTAL CREDITS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ................... .         0
   TAX AFTER CREDITS. . . . . . . . . . . . . . ............................................................. .                                                      12,516
 OTHER TAXES
   SELF-EMPLOYMENT TAX ......................................................................... .                                                                    4,409
   TOTAL TAX ........................................................................................ .                                                              16,925
 PAYMENTS
   TOTAL PAYMENTS ................................................................................ .                                                                      0

 REFUND OR AMOUNT DUE
   UNDERPAYMENT PENALTY ....................................................................... .                                                                       244
   AMOUNT YOU OWE ................................................................................ .                                                                 17,169
 TAX RATES
   MARGINAL TAX RATE ............................................................................ .                                                                   22.0%
                                          Case 23-20500-MAM                            Doc 43              Filed 03/26/24                 Page 32 of 67


          1040             Department of the Treasury -      Internal Revenue Service (99)

Form                       U.S. Individual Income Tax Return                                     2020                0MB No. 1545-0074           IRS Use Only -       Do not write or staple in this space.

Filing Status          D    Single            D   Married filing jointly      ~ Married filing separately (MFS)          D    Head of household (HOH)              D    Qualifying widow(er) (QW)
Check only
one box.
                       If you checked the MFS box, enter the name of your spouse. If you checked the HOH or OW box, enter the child's name if the qualifying
                       person is a child but not your dependent ► LESLIE ALLEN
Your first name and middle initial                                                       Last name                                                          Your social security nwnber

LENNIE ALLEN
If joint return, spouse's first name and middle initial                                   Last name                                                         Spouse's social security number



Home address (number and street). If you have a P.O. box, see instructions.                                                        Apt. no.                 Presidential Election Campaign
                                                                                                                                                             Check here ~ you, or your spouse
14578 ORANGE BLVD
                                                                                                                                                             if filing jointly, want $3 to go to this
City, town, or post office. If you have a foreign address, also complete spaces below.                State                ZIP code
                                                                                                                                                             fund. Checking a box below will
LOXAHATCHEE, FL 33470                                                                                                                                        not change your tax or refund.

Foreign country name                                             Foreign province/state/county                             Foreign postal code
                                                                                                                                                                      OYou            Ospouse


At any time during 2020, did you receive, sell, send, exchange, or otherwise acquire any financial interest in any virtual currency?                                  D    Yes

Standard                Someone can claim:           D    You as a dependent           D     Your spouse as a dependent
Deduction
                           D    Spouse itemizes on a separate return or you were a dual-status alien

Age/Blindness           You:          D    Were born before January 2, 1956         D    Are blind         Spouse:      D    Was born before January 2, 1956                   □ ls blind
Dependents (see instructions):                                                        2) Social security              (3) Relationship                    (4) ✓ if qual~ies for (see instructions):
                                                                                           number                          to you
If more            (1) First name                         Last name                                                                                     Child tax credit           Credit for other dependents
than four
dependents,
see instructions
and check
here   ►
            □
                               1     Wages, salaries, tips, etc. Attach Form(s) W-2 ...... ...................................                                             1
  Attach                   Ta Tax-exempt interest .. . . ' . . . . 2a                                                b Taxable interest. .............. 2b
  Sch. B if
  required.                    3a Qualified dividends ... . . . . . . . 3a                                           b Ordinary dividends ... . ........ 3b

                               4a IRA distributions. ..... ....... 4a                                                b Taxable amount. .............. 4b
                               Sa Pensions and annuities ...... Sa                                                   b Taxable amount. .............. Sb
                               6a Social security benefits ........... 6a                                            b Taxable amount. .............. 6b
                               7      Capital gain or (loss). Attach Schedule D if required. If not required, check here ...................... ► D                        7
                               8      Other income from Schedule 1, line 9...................................................                                              8                 111 431.
                               9      Add lines 1, 2b, 3b, 4b, Sb, 6b, 7, and 8. This is your total income ....................                                   ►
                                                                                                                                                                           9                 111,431.
 Standard
 Deduction for -           10         Adjustments to income:
 •Single or
   Married filing
                                   a From Schedule 1, line 22 ...................................                           l1oal                       2,205.
   separately, $12,400             b Charitable contributions if you take the standard deduction. See instructions ...      l1obl                                        .. ·\,
 • Married filing
                             C Add lines 10a and 1Ob. These are your total adjustments to income. ............. .....                                             ►     10c                    2,205.
   1oinlly or Qualifying
   widow(er), $24,800      11 Subtract line 10c from line 9. This is your adjusted gross income . ............ .....                              '.'
                                                                                                                                                                  ►
                                                                                                                                                                        11                   109,226.
 •Head of
   household, $18,650
                           -12 Standard deduction or itemized deductions (from Schedule A) .................. ........ 12                                                                     14,180.
 • If you checked any
                           -                                                                                                                                            13                    19,009.
   box under Standard       13        Qualified business income deduction. Attach Form 8995 or Form 8995-A .......... ........
   Deduction,
   see instructions.        14        Add lines 12 and 13 ..... . . . . . . . . . . . . . .. . . . ' .................................. ' . . . . . . . .               14                    33,189.
                15 Taxable income. Subtract line 14 from line 11. If zero or less, enter -0-........... ........                                                        15                    76,037.
BAA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate mstruct,ons.                                                                                         Form 1040 (2020)




                                                                                             FDIA0112L 08/24/20
                                        Case 23-20500-MAM             Doc 43          Filed 03/26/24      Page 33 of 67




                                                            CORRE
J?AYER'S name. adcnll, ZIP/poml oade, ocu,try l phone no,                                                       0MB No.1545-0118
                            .
   The Randall Powers Company
   1801 Peachtree Street                                                                                                                       Nonamployee
   Suite 200                                                                                                       ~©21                       Co_
                                                                                                                                                mpenaatlon
   Atlanta, GA 30309
                                                                                                                Form 1089-NEC
 PAYER'S TIN                        RECIPIENT'S TIN                              1 Nonemployee compensation                                                    CoPY.B
      ----.                             - --- " 64
                41                                                        $                                           163000._00                      For Recipient
 RECIPIENT'S name, ldch11, ZIP/pollal oodl
                                        ,,. I oauntry                            2 Payer made direct 1111a totallng '5,000 or mor. of                     1h11 II lmpo,tent tax
                 -                       !
                                                                                                                                                      lntDflNdton and II bllng
   Lennie Allen                                                                                                                                    tumllhld to 1hl 1M. ttyc,11
   Summit Consultin9 Solu~ion                                                                                                                    ... reqund totlla In.tum. a
                                                                                                                                                  negllglnol penally or-.
                                                                                                                                                 unollon NY belnpolld on
   14578 Orange Blvd.                                                                                                                             youHthlllnoomelltlllllbla



                                                                                                         i
                                                                                                                                                and the 1A1 detlrmlMl lhlt It
                                                                                                                                                       •notbllnl'tpClltld.

I....:::=c:;~2 cv                                                       lsll 8mte llx wllhhlld   e Statt/Payer'a atate no.          7 State Income

                                                                           •·········-··--······ --·--·········· ················j~$....................
                                                                                         •
                                                                                                                                  ·           Ts
Form 1099-NE                 o-PtorYoll'r'IOOldl)                                                                   Dtpartmtnt of the 1leuufY • lntlmal Revenue Service
                                                              .....     _._ _.
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 34 of 67
                                                               Case 23-20500-MAM                         Doc 43           Filed 03/26/24                Page 35 of 67
                                                                                                                                                                                                                                   Page 1 of 7


 Robinhood f
 85 Willow Rd, Menlo Park, CA 94025                                                                                                                                                                  10/01/2021 to 10/31/2021
 help@robinhood.com                                                                                                                                                                       LENNIE ALLEN Account#_          1974
                                                                                                                                                                              Cash Management ACH Account#:;             :8752
                                                                                                                                                                                    14578 Orange Blvd, Loxahatchee, FL 33470
                                                                                                                                                         ■   Options             ■ Equities         ■ Cash and Cash Equivalents




                                                                                                                                                  Portfolio Allocation
   Account Summary                                                   Opening Balance                Closing Balance


   Brokerage Cash Balance                                                       $0.00                          $0.00

                                                                                                                                                              ,
                                                                                                                                                                                        '
   Deposit Sweep Balance                                                  $6,698.32                     $6,700.02                                                                                                  Cash and Cash
                                                                                                                                                                                                               •   Equivalents
                                                                                                                                                                                                                   23.98%
   Total Securities


                                                                                                                                                       (                                         )
                                                                          $17,489.01                   $21,236.06

                                                                                                                                                                                                               •   Equities
   Portfolio Value                                                       $24,187.33                    $27,936.08                                                                                                  76.02%


                                                                                                                                                                                                               •   Options
                                                                                                                                                             ,..                             I
                                                                                                                                                                                                                   0.00%
   Income and Expense Summary                                              This Period                  Year to Date


   Dividends                                                                    $0.00                         $9.63


   Capital Gains Distributions                                                  $0.00                          $0.00


   Interest Earned                                                               $1.70                         $5.45




The Robinhood Cash Management Annual Percentage Yield (APY) is 0.30% as of the closing date of this statement. APY is determined by the program banks into which your uninvested cash is swept, and may change at anytime.
Investment products are not FDIC-insured, not bank guaranteed, and may lose value. Un invested cash swept to the program banks is eligible for FDIC insurance up to applicable limits, subject to FDIC rules. The Securities Investor
Protection Corporation has taken the position that uninvested cash swept to the program banks is not covered by the Securities Investor Protection Act.
This statement shall be conclusive if not objected to in writing within ten days (except with respect to debit card transactions). Errors and omissions exempted. Please address all communications to the firm and not to the individuals.
Address changes or other material changes in your account should be directed to the office servicing your account. Kindly mention your account number. This statement should be retained for income tax purposes.
 Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 36 of 67




---
    r\ -\ \d
 N\O\\+~\'--\

       ~-e·, M.~Vvf jeMeAiS
                     pro+                 Due_
                                                                rrws:rrtrTIB fMOTS@t§tt"t'WtfM#i:WttMtttfttizt:roiWYY'i'ihnit$it'ii:Wi\11t'IW   ttfWt 'irhtt:edttitdlaint 'ttt@Pffi#'ft?M«Kil rtt·tt't 'ftt¥t' tttt(bt'   {' 1¢


                                  Case 23-20500-MAM      Doc 43        Filed 03/26/24                      Page 37 of 67




11;1.   I l
.....,~PARENTS
                  .
                          = 'O View Message
                            --·          --•            --
  tv1y Messaqes


  1\ttachments L rbrarv
                             (0)    Leslie Volpe

                                    See attachments. Total is $507.52
  ('a!Pil(]Jr                       Your portion to be reimbursed to me is $304.51.

                                    7D4A22EB-09F6-449C-95FA-01 OEDD9F2EC4.png %
  Payments
                                    773880FD-7CA0-4A92-8508-2ABB315E0040.png %
                                    051 BCB3C-935E-4477-A628-E99F4DC783B4.png %
  Info L rbrary
                                    6D76AOBA-8E8C-4ABF-B664-545E822C709E.png %
                                    3C0325CF-A489-42CC-8C9B-068C87993720.png %
  Records



  Journal                    0      Leslie Volpe

                                    February reimbursement receipts continued

  Contact Us                        4948E787-B877-469D-AB29-03A51 C2E5325.png %
                                    60046878-48AF-463D-B1 F0-49DF5E468EE1 .png %
                                    5CC32A 1 B-466B-4E93-83D0-581 FOD9250DE Jpeg %
                                    75A3A 742-9564-48A6-B362-02A9C9662C61.jpeg %
                                    8257BCE2-F2AC-4E18-8D64-AOSAOOC09B31 jpeg %
                                                                       Case 23-20500-MAM    Doc 43   Filed 03/26/24   Page 38 of 67
                                                                                                                                                  --



-~
••

     Sub,iect·
        J    • . '\ •Pp.,•·1_;
                   _i
                        ll • Ii   ., , • J   ~·
                                                  .:,:   ,,, 1-,. ,,-,;·p1r>"1r1
                                                  ,.__ . ), , ft_ ~,, J , J, , , ij t. 1.




       GJ      Leslie Volpe

                See attached for receipts. Your portion to be reimbursed is $306.45 including childcare of $60 during your scheduled timeshare.

                2870AB34-3F38-40E3-874A-55F7 A30287 AE.png %
                E21070A 1-F51 E-4A8A-85C9-9BB1 AFE07831 png %
               6FCDE60B-01 FF-4B1 A-82BA-83BA2F1 BCD3E.png %
               70938133-5DAC-4E01-9E4C-6D2B3BDA3ECD.jpeg %
                2608ED10-9255-4602-8107-C2015B13251 Cjpeg %
                                      Case 23-20500-MAM          Doc 43      Filed 03/26/24     Page 39 of 67




•··       ,,:11,;1,,
-~PARENTS


    ~v1y rv1P:,<:d(Jt-'(',   Subject: Dr,ccrnbc1 Re,mb1 irc.-;emPnt':

    Atlachn,ents I ,hrnrv

                               ( ~ ) Leslie Volpe
:...:s Calenrhr
                                     Attached is the monthly reimbursement. Your portion that's due totals $195
    Payments
                                     C23149C3-614A-4742-B838-55A6CAE2021 B.png %

    Info l.1hrary                    63B81089-547 A-4F54-97EF-A 1B9314CBD13.Jpeg %
                                     0DA26908-C974-4D09-850D-AA 76946D3324.Jpeg %
f                                    E7573033-A247-478E-B56D-DBB88AC31 F69.Jpeg %
    Records

                                                                                                                  I ennie A.lle11 viewecJ thi,, :,dbJect
     !0111r1r1I
                                 Case 23-20500-MAM            Doc 43     Filed 03/26/24   Page 40 of 67




~•
-~PARENTS
                  .




 Mv Mcs•,aaes         Subject: f'.lnven 1b.:-·r r-?f:in,bw ::,~';'n1en

 Attc1chrnPnt•~ I


Calendar                ( ~ Leslie Volpe

                                Please see attached the reimbursements for the month. Your portion to repay is $344.70
PaynlPnts
                                F0948278-8CB5-44DA-BSA2-ESA94AB2592D.png %
Info l1brarv                    7ESDDSA2-A 1A6-4A7F-A543-26812CCF9FA4 png %
                                0C1 B45CD-70CF-4598-BE0C-7F586FA7EE9B png %

F~,c,corcis                     9EBEB1 F0-7DDA-48C1-8820-51 AB8BBB2A96 Jpeg ~'
                                1 ED05929-DF44-4272-94B5-F0F3C2F02008 png %
 1,_,,.,.-"..,I




                                      1
                                                                                                        MN2l   •   tffttltt"   ,,   C   t·rtt&e:er-·:tiit&tztkzt:{bttWtl'&t   t"'i'@I 'ri'tr&rna:&Mti¥tr#'f¢   M#df   tlr'J It# ·t   e   7·   ·-g   i   t $' p')j.   tit   ttt   rwttet'itt"t


                                        Case 23-20500-MAM                   Doc 43             Filed 03/26/24                   Page 41 of 67




~~PARENTS


  Mv MPc,•,,1,;1_",              Subject:     t(1bPt f? r,: i)   ·,b, 1r ,;(::,t11f1 n 1· :~

  /'lttachn1e11tc; I ,h1 ,J1·v


  CalencJor                        (_~) Leslie Volpe

                                         Your portion due is $154.20
  Payment<;
                                         A66A8017-EDEC-469C-AB86-CB0BACDDEADE jpeg %
  Info l1hrarv



  RPr. nrdc:
                                  C-0    Leslie Volpe

                                         In addition to the $75 sitter fee previously sent. Totaling $229.20
  ..Journni
                                                                                                                                                                       l.errnie Allen viewed this sub;ect
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 42 of 67
\   .........   ~.. . ....   ....,.._   ...... ,
                                                   Case 23-20500-MAM          Doc 43   Filed 03/26/24     Page 43 of 67
                                                                               DATA SECTION                                        Page 1 of 9

                             POLICY NUMBER U0676057                                              March 15, 2018                    ISSUE DATE
                             OWNER                  Lennie T Allen, INSURED                             Sex Distinct            POLICY BASIS

                                                                                  INSURED
                             NAME                   Lennie T Allen                                              55                  ISSUE AGE
                                                                                                                 •· Age" rncDns Dgc nc/lr birthdDY
                             RATE CLASS             Standard Nicotine User                                     Male                          SEX

                                                                      APPLICANT POLICY SELECTIONS

                             SPECIFIED AMOUNT                 $170,000
                             Note: The minimum Specified Amount during the lifetime of this Policy is $25,000.

                                                                             IMPORTANT NOTICES

                             MATURITY DATE: IF YOU TAKE A POLICY LOAN, THIS POLICY MAY NOT BE IN-FORCE TO THE MATURITY
                             DATE OR TO YOUR CUSTOMIZED DATE WITHOUT ADDITIONAL PREMIUM PAYMENTS. THIS POLICY
                             WILL HAVE LITTLE OR NO ACCUMULATION VALUE ON THE MATURITY DATE OR AT THE END OF YOUR
                             CUSTOMIZED DURATION.

                             IF THE PLANNED PERIODIC PREMIUMS ARE BASED ON A DURATION OTHER THAN THE INSURED'S AGE
                             121, THEN AT THE END OF THAT DURATION, THE POLICY PREMIUMS REQUIRED TO l<EEP THIS POLICY
                             IN-FORCE WILL BE SIGNIFICANTLY HIGHER THAN THE PLANNED PERIODIC PREMIUM.

                             THE 10-YEAR MINIMUM PREMIUM WILL NOT PREVENT LAPSE IF A POLICY LOAN PLUS ACCUMULATED
                             INTEREST EXCEEDS THE SURRENDER VALUE.

                             IF THIS POLICY HAS AN OUTSTANDING LOAN, THE NO-LAPSE GUARANTEE ACCOUNT WILL NOT
                             PREVENT THE POLICY FROM LAPSING.




                             Form SGUL 15-DP-R
\.&.\,A.::,'-   4.,   .........   ..... ..... ,




                                                  Case 23-20500-MAM    Doc 43    Filed 03/26/24   Page 44 of 67
                                                                 DATA SECTION CONTINUED                           Page 2 of 9

                      POLICY NUMBER U0676057                          INSURED Lennie T Allen                  Male           55

                                                                  PREMIUMS AND RIDERS

                      BENEFIT DESCRIPTION                                           FORM                      MINIMUM ANNUAL
                                                                                                                  PREMIUM
                      FLEXIBLE PREMIUM ADJUSTABLE LIFE                              Form SGUL 15(14) R10-16           $4 1 278.90
                         Maturity Date             March 15, 2084
                      GUARANTEED CASH OUT RIDER                                     Form GCOR15                            $0.00
                      ACCELERATED BENEFIT RIDER FOR TERMINAL ILLNESS Form ABR14-TM(14)                                     $0.00
                      ACCELERATED BENEFIT RIDER FOR CHRONIC ILLNESS                 Form ABR14-CH(14)                      $0.00
                      ACCELERATED BENEFIT RIDER FOR CRITICAL ILLNESS                Form ABR14-CT(14)                      $0.00

                      TOTAL MINIMUM ANNUAL PREMIUM                                                                    $4,278.90
                      INITIAL PREMIUM DUE                                           $0.00
                      PLANNED PERIODIC PREMIUM                                     Monthly - $376.38
                      MAXIMUM PERCENTAGE OF PREMIUM CHARGE                          25%


                                                                  MONTHLY DEDUCTIONS

                      MONTHLY EXPENSE FEE                                           $5.00

                      MAXIMUM MONTHLY EXPENSE CHARGE                                $112.37 FOR ALL YEARS

                      A COST OF INSURANCE CHARGE

                      A CHARGE FOR ANY RIDERS

                                                                        INTEREST RATES

                      MINIMUM GUARANTEED INTEREST RATE                              2.5%
                      FIXED LOAN INTEREST RATE                                      4.50% COLLECTED IN ARREARS




                      Form SGUL 15-DP-R
    Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 45 of 67




C       Cf\\'{\\         <j
              C~~ \d

         Los-t Two
                    yeoJ:S Ta )(es
         Case 23-20500-MAM          Doc 43     Filed 03/26/24     Page 46 of 67




the child shall continue until she graduates therefrom, but in no event beyond the age of
nineteen ( 19) years.
              B.        If either party incurs a licensed aftercare expense for the minor child
                              •
because they have to work, the Husband shall be obligated to pay 60% and Wife shall
be responsible for 40% of the expense incurred so that a party can work.          In the event
either party advances the other parties' portion of the aforementioned aftercare, the
parent who has not paid their percentage of said agreed upon expenses shall reimburse
the other parent within 15 days of a request for the agreed upon reimbursement and


              C.        To the extent permitted by the tax code (as may be amended from
time to time), the Husband shall be entitled to take advantage of all available credits,
dependency deductions and tax advantages associated with the child for 2022, 2023
                                                         entlt
a   ilable credits, dependency deductions and tax advantages associated with the child
which are permitted by the Tax Code (as may be amended from time to time) in ODD
years.    The parties shall sign all necessary paperwork to effectuate the provisions of
this paragraph.
              4.        MEDICAL,      HOSPITAL,       DENTAL,      OPTICAL      CARE      AND
PRESCRIPTION COSTS FOR THE MINOR CHILD:
              The Wife shall maintain medical, dental and vision insurance for the minor
child so long as the parties' child is a minor and so long as it is available at a reasonable
cost to the Wife through her employment. The Wife shall provide the Husband with copies
of the medical, dental and vision insurance cards and all other requested information so
he can utilize said insurance for the minor child. The cost of said medical, dental, and
vision insurance has been included in the child support calculation.
              Any reasonable doctor visits, medical, hospital, dental, optical, orthodontic,
and/or prescription expenses of the minor child not covered by insurance such as co-pays
                                                                                             ,,,/


                                                3
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 47 of 67
                     Case 23-20500-MAM         Doc 43     Filed 03/26/24     Page 48 of 67
Filing# 183830578 E-Filed 10/12/2023 12:04:07 PM


        IN THE CIRCUIT COURT OF THE FIFTEENTH
        JUDICIAL CIRCUIT OF FLORIDA, IN AND
        FOR PALM BEACH COUNTY.
        FAMILY LAW DIVISION

                                             CASE NO. 50 2021 DR 8129 FI

        IN RE: THE FORMER MARRIAGE OF

        LENNIE TIMOTHY ALLEN,
                   PetitionerIF ormer Husband,
        and

        LESLIE ALLEN n/k/a LESLIE JESSICA VOLPE,
                   Respondent/Former Wife.
        - - - - - - - - - - - - - - - - -I
                                         NOTICE OF LIS PENDENS

        TO:   PETITIONER/LENNIE TIMOTHY ALLEN
              14578 Orange Blvd.
              Loxahatchee, FL 33470

              YOU ARE NOTIFIED OF THE FOLLOWING:

              (a)     The Respondent/Former Wife has instituted this action against you seeking the
                      payment of equitable distribution in accordance with the Final Judgment of
                      Dissolution of Marriage entered on October 26, 2022. The relief sought in this action
                      is a post Dissolution of Marriage enforcement action for the unpaid equalization
                      payment provided for in the Final Judgment which represented the Former Wife's
                      equity interest in the home.

              (b)     The Respondent/Former Wife in this action is: LESLIE JESSICA VOLPE f/k/a
                      LESLIE ALLEN.

              ( c)    The Petitioner/Former Husband in this action is LENNIE TIMOTHY ALLEN.

              ( c)    The date of the institution of this action is October 12, 2023.

              (d)     The property that is the subject matter of this action is in Palm Beach County,
                      Florida, and is described as follows:

                      14578 Orange Blvd., Loxahatchee, FL 33470
                Case 23-20500-MAM                   Doc 43         Filed 03/26/24   Page 49 of 67




                   More particularly described as:

                   Legal Description: The North 249 feet of the West 209 feet of the
                   East 672 feet of the West½ of Section 32, Township 42, Range 41
                   East, Palm Beach County (NK/A TRACT 126-AL)

                   Parcel Identification Number: 00-41-42-32-000-3030

         DATED this 12th day of October, 2023


                                                               KATHRYN M. BEAMER, P.A.
                                                               Counsel for the Respondent/Former Wife
                                                               11811 U.S. Highway One, Suite #102
                                                               North Palm Beach, FL 33408
                                                               Eservice: kathrynbeamerpa@gmail.com
                                                               Telephone:     (561) 686-0803

                                                      By: Isl Kathryn M Beamer
                                                          KATHRYN M. BEAMER, ESQ.
                                                          Florida Bar No.: 275026

W:WLEN, LESLIE\PLEADINGS\Lis Pendens Loxahatchee 9-25-23.wpd
  Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 50 of 67




\f\ o~     1) ('\          -far
          Co"+~\'(\?+ o \\d or
                              Case 23-20500-MAM Doc 43
Docl!Sign Envelope ID: 264B478E-2B05-4419-848A-BE55020C8E79        Filed 03/26/24    Page 51 of 67




                                  IN THE CIRCUIT COURT OF THE FIFTEENTH
                        JUDICIAL CIRCUIT IN AND FOR PALM BEACH COUNTY, FLORIDA

                                                                   FAMILY DIVISION: FI
                                                                   CASE NO.: 50-2021-DR-008129-XXXX-NB

           LENNIE TIMOTHY ALLEN,
               Petitioner
           and
           LESLIE ALLEN,
               Respondent.


           - - - - - - - - - - - - - -I
                  ORDER ON THE FORMER WIFE'S MOTION FOR C
                             ENFORCEMENT FILED ON JUNE 9
                              With Directions to Clerk of Court to A                          er
                                        Order Contains Two Mon
                                                    .               ~;;""

                  THIS CAUSE came before General Ma~te nnifer Klee on October 4, 2023,
           upon the Former Wife's Motion for Contem.ptJ~~nforcemenl filed June 9, 2023. The
           Former Wife was present and was represen;-l,_by ~hryn Beamer, Esq. The Former Husband
           was not present and was not represent~~:i:~el.

                    Based upon the evidence p~e~~ review of the Court file, the argument of the
           parties, and being otherwise ful_~ se9 in the premises, the Court makes the following
           findings of fact and conclusio ' of la ,:                                        •

                   I.      On Oct. ~)022, the Court rendered its Final Judgment of Dissolution of
                           Marriag~i~1nafter "Final Judgment"). The parties have one minor child.
                           A .A .. bo'm in 2016.

                  2.               e
                               : '~Ju 9, 2023, the Former Wife filed a Motion.fhr Contempt and!ur
                           '·, ~orcement. In her motion, she alleges the Former Husband has failed to timely
                  1111111
                             a.~. pay his equitable distribution equalizing payments and his share of the children's
                     ·•,,.        extra-curricular costs, and further that the Former Husband has failed to follow
                                  the time-sharing schedule and offer the Former Wife right of first refusal. The
                                  Former Wife seeks various contempt-related sanctions along with an award of
                                  her reasonable attorney's fees and costs.

                   3.      The Former Wife, through her counsel, sent via U.S. Mail a copy of her motion
                           and the notice of hearing to the mailing address where the Former Husband
                           resides. This address is the former marital home and the address at which the
                           Former Husband still time-shares with the children. The Former Husband is a
                           former Florida-barred attorney whose licensure is currently listed as ineligible to

                                                               1


           FILED: PALM BEACH COUNTY. FL. JOSEPH ABRUZZO. CLERK. 1/4/2024 3:15:45 PM
                            Case 23-20500-MAM Doc 43
Doc.iSign Envelope ID; 2648478E-2805-4419-848A-BE55020C8E79                                     Filed 03/26/24                                       Page 52 of 67




                           practice law. On October 3, 2023, he e-filed correspondence to the Court
                           indicating he was unaware of the October 4, 2023 hearing. Despite this
                           correspondence, the Court finds the Former Husband was properly noticed for
                           the hearing, that due process requirements have been met, and that the Former
                           Husband failed to appear for the hearing despite receiving proper notice of the
                           motion and the notice of the hearing.

                   4.      In a contempt proceeding, the Court must find that a prior valid order of support
                           was entered. that the alleged contemnor has failed to pay part or all of the support
                           ordered, that the alkged contemnor had the present ability lo pay suiiJ>ort. and
                           tl~at th~ all~ged ~onl~m,nor... ,.vill!~1ll):, fail~,? to,co1~1ply,vit_hthe p ~ ~ l order."
                           1\apo/1 r. 1\apoll. 14~ So ..,d 9)., (l·la. 4 DCA _QJ4) (c,tmg ~1f'am. L. R. P.
                           12.615(d)(l)). Civil contempt is remedial or incentive-ba~~Uows the
                           c~ntemnor to purge th~ contem1~t ai_1d avoi~ or re~L!ce ili,~anct1on by con~plying
                           with court orders. Id. (mtcrnal c1lat1ons omitted). I hf mo~ust establish that
                           the respondent has been ordered to pay support and t~ t!).e respondent has failed
                           to make those payments. Lawrenc~ _v. State, D~(dlRe":enue ex rel. Walker, 755
                           So. 2d 139 (Fla. 2d DCA 1999), c1tmg Bo"H,~~ B~en, 471 So. 2d 1274
                           (Fla.1985). The burden then shifts to t.he~~~ori'6eht to prove that he does not
                           have the ability to pay the support. _8,.?~~J-$0. 2d at 1278-79.

                   5.      The panics' parenting plan. \,Vhi'({~ ratilied hy and attached to the final
                           Judgment, comains the folio,, ng~g\age regarding extra-curricular activites
                           and costs:                 •
                                                                       /~                          '
                                                                  - ~ ~ h a t th;! minor· child r.h~~i! be: permH't\.":(i tv i:~r•.;d~~t..:- ,:-, :.:.
                                                                 t ~:~~~~ -c•.,rrit•:;'f:!;' c.:c.~·:-.,it,,:!:.;: ,~- yE·nr. The p~1r:·i•~s st;vil be n-:"~1.~l,~d
                                                                   -. ;)n8~~-;-~th::;;\~';~ b:'~~~~:~~~~::l"~,;;~~~~~h::~~1-l1 ri: ~xtr<:-C\i,-i t\UI!~;-
                                           '                          _p




                                           ~1z~};.~g;.{I?f::i:t;~::~f~I-:if§;:;;:~~r~~:Ii)~t~~;~1i~~1~
                                               ·ei;"T1~;.1r~c:r:,r.::1 lt Ynl'J S~Jnpc:.,~Lins.:. du:cun;,-1n::-rt1.i~:,~ . .-~- ri..~qi..~':'-:. fr:-r rP..if'i~t:--.•.J1:,~r-1f;·r,t
                                                r:J•;:.t be ,~;:)-:!t' wi:..t1iq t·l·1!r'_y (1G.~ ~JiJ;,'!: •)'. :~nv•~- .. -,~- C~!;:::,r,ni:~•:· :h1~ ·11...;J· •··r,,
                                                l"-:i1......-•'.:u;•·,,_-l   ·•o; \"~ •!, '.•/?,<',•~•~


                                               T;•;.c:; __;!'"11~·-:::·n1\·. ~ ~d '..:q(:'j'il~·,.i:~:--1- ., ..... r,t·:n~e      r....
                                                                                                                                   r :.,;r;jfcr:·---r, :-,n:.:i -:!~\,.(l~:n•,, ·•'."=i. -~•:•11 'f-:,",
                                               i·t.'\f t. :-if~ ~J·;i;-:1 ·•:-, e...:·.:··:·. ·Cl:r:-(~ · _•tar cl(.l :,_,:t Hi~ ·•'J/'; 11.-;h .'t ···:: th)ii.~t-~.-_--; t:'J Ii' ...._-;,u ,~._:: :. l·,r.,:l
                                               ::.ie ,::-~-....•~!!-; .;;l·•,1d.:~ J '-"l.:•tv.-.::,::-; • l:"k' i:•.~:-l :~··, ·N1l!"'1 •~r-<~ tJJ.:1~r•t,,,;!' ;.•r.·1w,i,:_; · :..~ ~.;, :..;, ;·,l~ !.:'t,.')

                                               ~::~~~;:';./:~:·;~:~}~ :~~:\:ri!_::::~:f~~~~~i·;~:;:]~r:.~t•~~;:~g;~~~ 1~-·P;;:~~~~~;;:~; :_~i: ,~t~~~rJ
                                               ;)Cir ;..;_l       '-:rOV!(!A-'..:         .-v;tn       \,,   r(:.:.;Ul":"!St   '.'::,r    r:~, ,-~~1.;; ~;er:·t~~'.r::;       ~JH.0       ·:,:.;r-J:.-.:.-·tli~Q
                                               !"h:::::L•'ncr.t.r!t1t:n. /•. :-t.:!qu•:st tur is-!in1tJ1:r::r;::,t:nr r.·,'.J;;,t ~t: -:·ic:1C!;! '•\•.lh:,--. t)iir':..~,.
                                               !30) :,av~. •:>f pavrrer-.(, Gt~,::,-,..v;se the 69hr ~or r~i;':'"',b\>(se.1-,--,\~r1t i! -.--:ar•l'r?.(t.




                   6.      The Former Wife testified the Former Husband consented in writing via Talking
                           Parents to the child's enrollment in tennis and swimming. The Former Wife
                           timely submitted reimbursement requests for tennis in the amount of $570 and
                           swimming in the amount of$180. The Former Wife paid 100 percent of those
                           costs herself and requests the Court award her the Former Husband's 60 percent
                           share of those extra-curricular costs, or $450.

                   7.      Paragraph 3(8) of the parties' Mediated Marital Settlement Agreement
                           (hereinafter "MSA") states:

                                                                                                 2


           f}LED: PALM BEACH COUNTY FL. JOSEPH ABRlJ77() rT PRV                                                                                                         1 /,1/'")MA " · 1 r . u ...,,, •
                             Case 23-20500-MAM Doc 43
DocuSign Envelope ID: 264B478E-2B05-4419-848A-BE55020C8E79                                     Filed 03/26/24                    Page 53 of 67




                                                          lf either party incurs a !icensed ai'tercan-, expen,;e for the minor c!"!Hd
                                                          B.
                                      because they ha•1e to work,., the Husband sha!! be o..;11·   • ••
                                                                                                igacec  to pay \J'QO/-~ anc''"'f
                                                                                                                             v·n e 5,h-11
                                                                                                                                      '"·

                                      be responsible for 400/c; of the expe:nse incurred so that a party can work.                                        In the event
                                      e1ther party advances the other partles· portion ct the afore,nentioned aften:arr:, .:he
                                       parent who has not pald their percentage of said agreed upon expense5 sha\l reimburse
                                       the other parent within 15 da·l's of a reqlie:">t for the agreed upon reimbursement and
                                       being provided with proof of the payrniiJ:1L


                  8.         The Former Wife testified she incurred aftercare bills which she time\v sent to
                             the Fo~·~ner __Husband._-~'he Former 1-!usband nc-ver reimbursed_ l~~,T'6'f~, of th?se
                             costs. 1he Fonner Wik asked the Court to awan.l her 60% ot ~~- fotal costs ot
                             $911.20. or S546. 72.                                          ~·""'~ '\,
                                                                                                                                                   ·;:;   .
                  9.         Paragraph 4 of the MSA states: "Any reasonable doqo; ;~;~edical, hospital,
                             dental, optical, orthodontic, and/or prescription expe-s gf the minor child not
                             covered by insurance such as co-pays and ded ueffllt!es ~II be shared by the          1

                             parties with the Husband paying 60% and t!;i~ife )aying 40% of such
                             uncovered expenses." The following Ian •ag,e re,ttrding notice and
                             reimbursement is included:
                                                                                               4.   /'
                                               if i:~;·,e. p:::rent pr~p::rys Ci r~~Ci$'       •    1rJ n~ct:;sar:,· !:2u~th c::.:r~; (.1tHrJa~10;:f
                             the r:on·1Jaying p::tient's {'ibBg~~tion :.;hait •;.:.?                :c?'a1-:d pc:y,3t;1~ to thl:: pu-,..i:19 paren:
                             -.•-.:itt;!n JC (.iay~; c•f t•ein~ rv_:.tified., in ;,v:1:in£;, -·, :r~e p?ryin;~ r,arent., -::f the natur~-: and c.0s~
                             of the ht-;wLh c;~re e:,pe;1.:=.es b-:Ji               • d ,,,.,,th prGt)f of 1l!hJt L--:~,:.:rar:c8 r~i:tit'-~;rst:t1 or




                  l 0.      The h,rn~-__, tcsti lied the Former Hushand ha~ not rl..'imburseJ her fpr any
                            IH}~Co.ver~l'i medical '-?PC~bCS :-incc_ the cntryut' the Fi_na! Judgment. The child
                            I-fas, •hma and L'ndocnne 1ssut·s ,,h1ch result 1i1 pre~crip11un Clbl:-i. In total. the
                         . -~-1111:.' • Wile has paid S 196.19. and she seeks rei mburs1:.·ment ('t' 60~,o or S 117. 71.
                         \        :

                ~,~,;:~,total.the Former Husband owes the Ftirrner Wife Sl,114.4., for his 60 percent
                 •     portion of unpaid non-covered medical expenses. aftercare, and e:-;tra-curriculars.
                        He has made no payments toward those expenses to date. The Former Hushand
                        failed to appl:'ar for the hearing: however. he maikd to the Court and the Formc:r
                        Wife proof of his emph)yment with The Powers Company. LLC. and proof that
                        his gross monthly income for the month of Sept. 2023 was $9.816.87. The
                        f ~)rmer Husband. in his letter to Court. writes that $9,816.87 are his Oil(\' earnings
                        for the entirety uf 1023.

                  12.        Based upon those earnings alone - as any other testimony the Court heard from
                             the Former Wile regarding the Former Husband's alleged income would be

                                                                                           3



           FILED: PALM BEACH COUNTY. FL. JOSEPH ABRUZZO. CLERK. 1/4/2024 3:15:45 PM
                             Case 23-20500-MAM Doc 43
DocvSign Envelope ID: 264B478E-2B05-4419-848A-BE55020C8E79       Filed 03/26/24    Page 54 of 67




                          speculative at best - the Court finqs the Former Husband has failed to overcome
                          the presumption that he has and had the ability to pay his child support as it came
                          due. The Former Husband had the present ability to pay more than he has toward
                          his support obligation and therefore he could have more fully complied with the
                          previous orders of this Court, willfully refused to do so, and failed to establish a
                          valid cause for the delinquency. Thus, through the Former Husband's own fault
                          and neglect, he has frustrated the purpose and intent of the Court's orders and is
                          in contempt of court. Garo v. Garo, 347 So.2d 418 (Fla. 1977); Faircloth v.
                          Faircloth, 339 So.2d 650 (Fla. 1976); Fla. Fam. L.R.P. 12.615; Bowef'I v. Bowen,
                          471 So.2d 1274 (Fla. 1985); and Pompey v. Cochran, 685 So.2d 1p07(Fla. 4 th
                          DCA 1997).                                                       '-·,11-,;,,


                  13.     The Former Husband should be permitted to purge his civE~'pt by paying
                          all of the afore-mentioned arrears (Sl,J 14.43) in full th ·o 1.h th} Clerk of Court
                          within 60 days of the date of this order. The Clerk of :ourt -~ready assessing
                          child support through its State of Florida Disbursemc U94L. Pursuant to the
                          (iec~·etal paragraphs of,this order below, the Cl,~- Court should establish a
                          ··child support - other' term to collect the p_;r~ T}t Former Husband has the
                          present ability to pay $1,114.43 through J(s wa~'eamcd through employment
                          with the Powers Company in Sept. 2,~,~~lllough his ongoing wages.

                  14.     The parenting plan contains a .ti~¥rint-;chedule that n~quires the Fonner
                          Husband tl) time-share ,vith ~-~~,~~"'uring the first three weekends of each
                          month from Fridav at 5:30 l\nt fortdav nwrnirn! when he returns the child to
                          school on school days   ,Si· ntil • '1esday morni.n~ when school resumes when
                          there is no school 01i,Mo a.~ The part:nting plan contains several provisions
                          that touch upon t~~1~r -lu:-hancf s "flying'· schedule for out-of-state work. A
                          reading of the st11t·tltMakes apparent tL) th1:· Court that the Former 1-lushand
                          frcql~cntly lle"~)~)rk on Sunday~. Accordi,~~dy. the ~,~rt:ntin_g plan rcql!ires
                          ~l~c I orm~lusband to rett~1'!1 the c_htld to th_~, _h)rmer WI le ~H1 Sundays at J p.m.
                          it h1:• was H~. and w notlly th1..• 1-nrmer \\/lie one \\eek prior t() sch(·duled
                          tra~l. Th~,.xir~·ming plan also account:- li.)r summer, a1.:ation and holiJa~ time-
                          ~~-
                  15,._ \'"'':~ Former Wile testified to a numher of occasions \Vh1:·n the Former I lushancl
                 ~
                       '. ~1ed to notifv. her when he was travelin!:! for work and failed to be available to
                                                                      ~

                           receive the child for time-sharing. On tWl) occasions. the Former Wife attempted
                           to deliver the child for time-sharing and drove all the way from her residence in
                           Opa-Locka to Former Husband's residence in Lo-.;.ahatchee (a one-hour-and-45-
                           minute drive). The Former Hushand was not home and failed to receive the child.
                           which resulted in the child being extremely upset and crying. The Former Wife
                            keeps extensive. contemporaneous notes of Former Husband's missed time-
                           sharing. In total. the Former Husband only exercised 85 of his 135 days oftime-
                           shari-ng since the entry of the Final Judgment.




                                                             4



           FILED: PALM BEACH COUNTY. FL. JOSEPH ABRUZZO, CLERK 1/4/2024 3:15:45 PM
                              Case 23-20500-MAM Doc 43
DocllSign Envelope ID: 2648478E-2B05-4419-848A-BE55020C8E79          Filed 03/26/24     Page 55 of 67




                  16.      The Former Husband is in civil contempt of Court for his failure to honor the
                           time-sharing schedule.

                  17.      The Former Wife seeks a purge of requiring the Former Husband to always give
                           proper notice of when he is traveling for ,vork and "make him pay for a sitter."
                           The Court can, in civil contempt proceedings, assess fines in the form of
                           pecuniary losses so long as the fine is based on evidence of the injured
                           party's actual loss. See Parisi v. Broward County, 769 So. 2d 359, 366 (Fla.
                           2000) (internal citations omitted). The Former Wife presented no evi~ence of her
                           actual losses sustained, i.e., the babysitter costs. Further, a civil C?Jltefllpt purge
                           of requiring consistent future compliance with a court order wiJ.hQ.u~rd for
                           someone's ability to comply in the future is not supported by ~)See Poe v.
                           Poe, 811 So. 2d 789 (Fla. 4th DCA 2002). As such, while ~~r Husband is
                           in civil contempt for failing to comply with the time-s.tiar~aedule, no purge
                           should be required.                                       •

                  18.




                                     ~~
                                       ,.,,.r~,...
                   19.    Ths,rurmt\\\/i1---· rc:ceiH·d the initial s~~_(H)O-dl)llar pay111-:11t. The Fill"lllt'r Wit('
                          t~t·d that in Sc'ptembcr of 2023. the Former 1-lusb::md made" a direct Zelle
                         -~-n~ to hl'r 111 the amount ot :::,4!l0. I he" --111(·1110 l111e lll tl1e payrn,.:nt 111d1cated
                        ~ --~lf,A:· ;-;o the Formt·r \Vite conduded tht· pa,nH::m ,,as for equiuble
                    '·, ~ribution. and not his child support obligati~ms as discusst·d herein. February
                 •~it:-~ or 2023 was the last month the rormcr Husband paid in !"ull his$ 1,000 toward
                          the $60.000-dollar remaining balance of the equalization payment. In total. the
                          Former Wife testified the Former Husband owes her $1.000 per month for the
                          months of March through September 2023 (7 nwnths). less the $400 he sent via
                          Zelle. lcff a total of S6,600. Additionally. he failed to pay any amount of the
                          $5.000 that came due ·'6 months after the entry of the Final Judgment.'·
                          Accordingly. in total. the Former Husband owes the Former Wife SI 1,600 as of
                          October 4. 2023 (date of the hearing). w-hich total does not include the next
                          payment that came due on October 15. 2023 after the hearing took place.



                                                                 5


           ~n .Pn· PALM REACH COUNTY. FL JOSEPH ABRUZZO. CLERK. 1/4/2024 3:15:45 PM
                            Case 23-20500-MAM Doc 43
DocuSign Envelope ID: 26484 78E-2805-4419-848A-BE55020C8E79           Filed 03/26/24          Page 56 of 67




                   20.      The payment of an equitable distribution debt is not punishable by civil
                            contempt. However, the Former Wife should recover a money judgment in the
                            amount of$11,600. The Former Wife should also receive a second money
                            judgment for the 4 percent per annum pre-judgment interest owed to the Former
                            Wife between the date each payment came due and the entry of the money
                            judgment herein. The Court should reserve jurisdiction for the Former Wife's
                            counsel to calculate the total pre-judgment interest owed and motion the Court
                            for entry of a second judgment consisting of just pre-judgment interest, with
                            notice to the Former Husband.

                   21.       The Former Wife seeks an award of her reasonable atlorney·s f~~osts.
                             Kathryn Beamer, Esq. testified in support of the Former WifrXdtuest for fees
                             and costs. In total. Ms. Beamer expended 6.4 hours at a ra!e"~~/hour, and
                             her paralegal expended 1.4 hours at a rate of S 175/how~t~aling c1 combined fee
                                                                                       4
                             award of $2,703.00.                                  ,      ',.

                   22.       Attorney's fees in this case are governed by .tl~e--~ractual provision in the MSA
                             which states, "If the Husband defaults in h~s 61,ijgatlons regarding timesharing.
                             telephonic contract and electronic contra'14 wi(h ~ minor child and is held in
                             contempt of Court, the Husband shall 1~ ~y.,lire· s attorney's lees and costs
                             associated wi1h said conlempt." Th~~-1~J1~1ve contracted to recovery of fees
                             only with respect to three topics~~1e other. The Court questioned Ms.
                             lkamcr regarding which of l_1~ke.'~ • Hties can be allocated exclusiwly to time-
                             sharing'. Ms. Beamer testifi~d. • t least 50 percent."
                                                           ~          .,



                   23.                                   ~½,,
                             This is cert~1inly ~1?t)-i're                c'.1se in ~vhicl~ multi!1le ~!aims ar~ so _i1:t~rtwined
                             that allocauon 01_1~~ OJle particular issue IS not teas1ble. thus _1ust1lymg a
                             glolx1! a\,ard l) '"a11·on~' 's t(·es. See e g. /3/unton r Godirin. 98 So. 3d 6()() ( Fla.
                                                           1



                             2d DCA 2012"!. he ormer Wife·s motion and this ht'aring were very clearly
                             di, i,.kd i~ three main categories: time-sharing. child support. and equitable
                             distributil'li~ Former \Vile rm.:pared and introduced testimony and exhibits
                             rel:!.a1"t:.ling a\l three issu1:'S. In ;\'Is. Beamer's ,-\t"fidm it tlf Attorney· s l·ees
                             (!C~tled as Fonm.•r \\'ifc·s Exhihi1 6). only 11111.' 1->illing ..:-ntr; in thL· rntirL'
                                         *~d:~ dttails \:Is. [3eamer working on an issue for \\llich kes can he rern,~red
                            , ,~, (A}gust 8. ~013 - .2 hours to [··receive! and re\'iew emails from client regarding
                                       "~.lf'L;rmer I lusbandf slack of ti1m:-sharing."·). Everything else is generally billed
                  ..._,,,.,...,,,., ....
                                          without categorizing ,vhat the legal issue was. e.g .. revie\ving emails. preparing
                                          the motion. pn:paring exhibits. The August 8. 2023 billing entry denwnstrates to
                                          the Coun that categorizing tht· billing hy issue is not only possible in this case.
                                          hut also necessarv uiven the contractual language to which the par1ies agreed. As
                                          such. tht' F~rmer-\\Tjfe should recover her attornt·y· s fees only for that portion of
                                          the motion which the fees clearly relate to time-sharing - or .2 hours at a rate of
                                          $395 for $79.00. Both the time expended (0.2 hours) and the·ratt· at which Ms.


           1
             The Former Wife's motion does not allege any issues regarding telephonic contract and electronic contract with the
           minor child.

                                                                      6



           FILED: PALM BEACH COUNTY. FL JOSEPH ABRUZZO r'T.FRK                                       1 !&nMA '.2· 1 ~-..1e n u
                            Case 23-20500-MAM Doc 43
Docu'Sign Envelope ID: 264B478E-2B05-4419-848A-BE55020C8E79   Filed 03/26/24     Page 57 of 67




                           Beamer charged were both reasonable and necessary to prosecute the motion.

                   24.     As the Corn1 is already allocating some of the Former Husband's income to
                           purge his civil contempt and pay his child support, the Court should mvard a
                           money judgment in the amount of $79.00.


           It is thereupon ORDERED AND ADJUDGED that:

               I. The ~indings of Fact,_Co~clu~ions of Law, and Recommendations of the ~fl\ral
                  Magistrate, as embodied m this ORDER, are appropriate, and are adopis~fi~"'
                  incorporated hereinafter in their entirety.                       "-,~, ;
                                                                                        "'•41(i,\ "'""

               2. The Former Wife's Motionfor Civil Contempt/Enforcement is,.G~N~D in part and
                  DENIED in part. All relief not specifically granted herein is ENitn.

               3. The Former Husband is in civil contempt of Court for.fa~ to pay Sl,114.43, or his
                  60% share of the child's non-covered medical exp~s~aftJrcarc, and extra-curriculars
                  from the entry of the Final Judgment through OcMij,~4,'623 (date of the hearing).
                                                                  ,,,.,";,-
               4. The Former Husband should be taken into ,ustody-and confined in the Palm Beach
                  County Jail for an indefinite period until~ ~es his contempt. However, the Former
                  Husband may purge his contempt an~vo~carceration by doing the following: The
                  Former Husband shall pay $1,114.'6 v~he Clerk of Court's FLSDU within 60 days of
                  the date of this order.          -~

               5. Law Enforcement shal~~o,action based upon the entry of this order. lfthe
                  Former Husband fails tr satis~e purge condition set forth herein, the Former Wife's
                  remedy is to file an Aft~ifand Motion for Commitment and the matter will be set for a
                  Commitment H e ~with notice to the parties.

               6. The Clerk.~-Court'lihall establish a ·'child support - OTHER .. term in the amount of
                  S 1.11-4.·H. ~id1 r~prescnts lilt· t-'(1rnk·r 1-lu:,band·s purgt> tt·nn. II or when 1h(· Clerk
                  r~ct·ive·s~ Fcft·mer Hushand·s purge pa: 111c.·nt. the Ckrk shall apply that pa~ment 10th~
                  ··cJ{ill,sup1'>rt - OTHER" term._ An_y payment: the Cl:r~ receiv:s in excess of the ~ormer
                 ~~s monthly support obllgat,on of $82) + $5.2) m Clerk s fees may be applied to
                  t~ purge term. The Former Husband is hereby on notice that any payment he makes to
                  the··c1erk of Court, including any payments toward his purge, will require an additional
                  $5.25 in Clerk's fees.

               7. The Former Husband is in civil contempt of Court for his failure to follow the time-
                  sharing schedule. No purge is required.

               8. The Former Husband is adjudicated as owing to the Former Wife equitable distribution
                  payments totaling $11,600 through October 4, 2023. The Former Wife shall recover from
                  the Former Husband, whose mailing address is 14578 ORANGE BLVD.,

                                                              7


           FILED: PALM BEACH COUNTY. FL. JOSEPH ABRlJZZO rTFRK' 11,1nMA 'l-H-AC n u
                            Case 23-20500-MAM Doc 43
DocuSign Envelope ID: 2648478E-2805-4419-848A-BE55020C8E79       Filed 03/26/24     Page 58 of 67




                  LOXAHATCHEE, FL 33470, the sum of$11,600 representing the Former Husband's
                  equitable distribution/equalizing payment debt to the Former Wife as of Oct. 4, 2023,
                  which judgment shall bear post-judgment interest at the rate of 7.69% per annum, and for
                  which let execution issue.

              9. The Former Wife shall receive a second money judgment for the 4 percent per annum
                 pre-judgment interest owed to the Former Wife between the date each equalizing
                 payment came due and the entry of the money judgment in paragraph 8, above. The
                 Court reserves jurisdiction for the Former Wife's counsel to calculate the tot~ pre-
                 judgment interest owed and motion the Court for entry of that judgment w·th notice to the
                 Former Husband.                                                         ,~*,-kt;
                                                                                           ~·   -JJ



               10. The Former Wife shall recover an award of reasonable attorney's ~t\,costs in the
                   amount of $79.00. The Former Wife shall recover from the FQ{~r H.tfsband, whose
                   mailing address is 14578 ORANGE BLVD., LOXAHATCH(E. f~470, the sum of
                   $ 79. 00 representing attorney's fees owed as a result of this m ~ which judgment shall
                   ?ear post-judgment interest at the rate of 7.69% per a~and for which let execution
                   issue.                                                , -~~" .•
                                                                      ...   '   '
               11. All support payments shall be made payable t~~J;C of Florida Disbursement Unit
                   (FLSDU) and shall be mailed to the State ~F,~r~Oisbursement Unit at P.O. Box
                   8500, Tallahassee, FL 32314-8500. Th~~r Husband shall include his Name,
                   Social Security Number, Case Nu~:r,~pte of person to whom·support is paid
                   and "Palm Beach County" on eac p ment. No credit for payment shall be given to
                   the Former Husband for any pa~_~s m de directly to the Former Wife or that are not
                   made through the State of F!,@ti?~ursement Unit. All payments must be tendered
                   together with a 4% servic,t'VgetJ)'er payment with a minimum of $1.00 to a maximum
                   of $5.25 per payment. (he se~e charge may change from time to time as determined
                   by the Clerk of the Cir~9urt.

               12. Both parties shaU~e Clerk of Court advised of their residence address, mailing
                   address, an mployer. A change in any of the above shall be reported in writing by that
                   party witM    ven (7) days of the change.




                                                             8


           FILED: PALM BEACH COUNTY. FL JOSEPH ABRUZZO. CLERK. 1/4/2024 3:15:45 PM
                             Case 23-20500-MAM Doc 43
DocuSign Envelope ID: 2648478E-2805-4419-848A-BE55020C8E79       Filed 03/26/24          Page 59 of 67




               13. The Court reserves jurisdiction.

           DONE AND ORDERED in Chambers, at Palm Beach Gardens, Palm Beach County, Florida.

                                                              ;()l
                                                          5}20,1D~XXXXNB: • .:101261202
                                                             L,,,J(_J            Kai'iin'M.<Mlller:t'.Clrcutt:Judge


                                                              502021DR008!29XXXXNB            10/2612023
                                                              Karen M. !\HIier
                                                              Cirruit JudgP




           Record: JK at NC 2706, October 4, 2023, 02:00 - 02:49 PM


           SHOULD YOU WISH TO SEEK REVIEW OF THE'VCQJIMENDED ORDER MADE
           BY THE GENERAL MAGISTRATE, YOU MUST\Q~ MOTION TO VACATE IN
           ACCORDANCE WITH RULE 12.490(e) OR Riq,E 1~491 (f), FLORIDA FAMILY LAW
           RULES OF PROCEDURE. YOU WILL BJi-ftE.QblRED TO PROVIDE THE COURT
           WITH A RECORD SUFFICIENT TO s~o~ YOUR MOTION TO VACATE, OR
           YOUR MOTION WILL BE DENIE~,      RE°boRD ORDINARILY INCLUDES A
           WRITTEN TRANSCRIPT O F =            ANT PROCEEDINGS UNLESS WAIVED
           BY ORDER OF THE COUR~T..i..    ,  ANY HEARING ON THE MOTION TO
           VACATE. THE PERSONS          .,REVIEW MUST HAVE THE TRANSCRIPT
           PREPARED FOR THE CO         REVIEW. TRANSCRIPTS AND ELECTRONIC
           RECORDINGS CAN ~BTAINED THROUGH THE COURT REPORTING
           SERVICES WEB REQN~ FORM AT https://e-services.co.palm-beach.fl.us/crtrpt/
                             ,..


           Copies to:    ~·.
                         \>,
                               ,..-....

                        Name                    Address                                        Email

                                          11811 US HIGHWAY
                                          ONE SUITE 102
           KATHRYN MARIE                  KATHRYN M.         KATHRYNBEAMERPA@GMAIL.COM;
           BEAMER                         BEAMER, P.A. NORTH kbeamerpa@aol.com
                                          PALM BEACH, FL
                                          33408


                                                             9


           FILED: PALM BEACH COUNTY. FL. JOSEPH ABRUZZO. CLERK. 1/4/2024 3·15·45 PM
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 60 of 67




N\ODo~
           -fur
C() \'IWY\1~ (')+
                            Case 23-20500-MAM Doc 43            Filed 03/26/24    Page 61 of 67
. ...i
DocuSign Envelope ID: E3E23893-5143-41BA-BC12-250640ACF781
 .        ~




                                                             IN THE CIRCUIT COURT OF THE FIFTEENTH
                                                             JUDICIAL CIRCUIT OF FLORIDA, IN AND FOR
                                                             PALM BEACH COUNTY.

                                                             FAMILY LAW DIVISION

              IN RE: THE FORMER MARRIAGE OF
                                                             CASE NO.: cl--/ _    ?( 1 cZ_

                     LENNIE TIMOTHY ALLEN

                      Petitioner/Former Wife
              and
                       LESLIE ALLEN




              ______________
                      Respondent/Former Husband.
                                                        ./

                                            AFFIDAVIT OF NON-CO
                                                MOTION FOR CO

              STATE OF FLORIDA
              COUNTY OF PALM BEACH

                      Before me, the undersigned -~~ersonally appeared             LESLIE ALLEN        who after

              first being duly sworn upon h?..aa~joses and says as follows:

                       I.      Former Husbanc~~lE T ALLEN has failed to make his regular payments of:

              $1,000 MONTHLY MSA, M ~ REIMBURSEMENTS FOR CHILD AND CHILD SUPPORT
                ,,    y     re,l,( _    •   ',ej;ld s ~
                      2. On       OCT   R 26, 2023   ,theMagistrate'sOrderwasenteredaffordingFormerl-Iusband

              the oppo1~~.Jo purge himself by paying all outstanding alimony within _ _G_0_days from the
                   --~~
              date oft1-t Order.

                       3. Former Husband has failed to purge himself and is currently in arrears in the amount of
                 19,727
              $_ _ _ _ _ _ _ _ _ _ __

                       4. Pursuant to this Court's Order entered OCTOBER 26, 2023 I hereby make application for

              an order of commitment against my Former Husband, LENNIE T .ALLEN for failure to make his




          FILED: PALM BEACH COUNTY. FL JOSEPH ABRUZZO. CLERK. 1/4/2024 3:15:45 PM
                            Case 23-20500-MAM Doc 43
DocuSign Envelope ID: E3E23893-5143-41BA-BC12-250640ACF781                       Filed 03/26/24     Page 62 of 67




           payments as required by the Court. Copies of both Orders as stated above are attached hereto as

           Composite Exhibit "A".

                       FURTHER AFFIANT SAYETH NAUGHT.




           STATE OF FLORIDA
           COUNTY OF PALM BEACH                                                                            ,~,,'•~
                                                                                                            ~,~   ;cl~

                  The foregoing instrument was acknowledged before me by mean                              f ~hysical presence
           or □ Online notarization this z.qth day of ~ - L ' 2023 b •                                    ,e:              who is
           personally known to me or who produced --11<-Ll·.....v,-=-__._........,~'--~                    did not take an oath.



                              U
                                   ~~~,            PATRICK JEAH•GILLES
                              1•           ,iJ Notary PubHc • State of Florida
                              \           rl! Commission I HH 380695                             c, State of Florida
                                ···•.!!!,.~/ My Comm. Expires Mar 29, 2027
                                                                                              nission Expires: JV\~r 2..q, 2])27

                . I HEREBY CERTIFY that a true ~ r r                                 •copy of the foregoing has been fumished by
           Eserv1ce to:                      .·"   i,




                   , ' ~

           W:IAAA STAC~_ON-rF.MPT\BLANK Aflldavn of c.mn,;,,.... wpd




                                                                                 2




          FILED: PALM BEACH COUNTY FL JOSEPH ABRUZZO. CLERK 1/4/2024 3:15:45 PM
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 63 of 67
Case 23-20500-MAM     Doc 43           Filed 03/26/24      Page 64 of 67
                            Callaway & Price, Inc.
                    Real Estate Appraisers & Consultants


                                                                F... N• . 22-83980




                          APPRAISAL OF




                          A Single Family Dwelling




                           LOCATED AT:
                            14578 Orange Blvd.
                          Loxahatchee, FL 33470




                                CLIENT:
                       C/O Kathryn M. Beamer, Esq.
                      11811 US Highway One, Ste.102
                       North Palm Beach, FL, 33408




                                ASOF:
                            September 27, 2022




                                   BY:
                        Chris Callaway Staniszewski
                              Cert Res RD4263
     Case 23-20500-MAM                        Doc 43           Filed 03/26/24               Page 65 of 67
                                                  Callaway & Price, Inc.
                                          Real Estate Appraisers & Consultants


                                                                                                         F.,. No. 22-83980




    09/30/2022




    Leslie Allen
    C/O Kathryn M. Beamer, Esq.
    11811 US Highway One, Ste.102
    North Palm Beach, FL, 33408



    Fue Numbe,:   22-83980




    In accordance with your request, I have appraised the real property at:



                                                   14578 Orange Blvd.
                                                 Loxahatchee, FL 33470



    The purpose of this appraisal is to develop an opinion of the defined value of the subject property, as Improved,

    The property rights appraised are the fee       simple interest In the   site   and improvements.



    In my opinion, the defined value of the property as of       September 27, 2022                             is.



                                                       $590,000
                                         Five Hundred Ninety Thousand Dollars



    The   attached report contains the     description,   analysis   and   supportive   data   for the   conclusions,
!
    final opinion of value, descriptive photographs, assignment conditions and appropriate certifications,




i

     ~
    Chris Callaway Staniszewski
    Cert Res RD4263
    Callaway & Price, Inc.
Case 23-20500-MAM   Doc 43   Filed 03/26/24   Page 66 of 67




     N\ w \+Q\
                    ~t\--\el'\ery\-
                             h 8-,-e,ex,r~~
                        Case 23-20500-MAM Doc 43
DocuSign Envelope ID: 264B478E-2B05-4419-848A-BE55020C8E79   Filed 03/26/24   Page 67 of 67




          Transfer and Motor Vehicle Power(s) of Attorney to be filed with the State of Florida,
          Department of Highway Safety & Motor Vehicles, Tallahassee, Florida, to facilitate the
          intent of the foregoing, if necessary.
                          J.      Each party shall be entitled to their jewelry and personal items. The
          Wife shall be awarded the personal property which is currently located at her residence.
          The Husband shall be awarded the personal property which is curren~cat                  at his
          residence                                                    .· •0~\, \."
                                                                                  i,    ~



                          K.      Except as provided herein, all other say,irtg~c6unts, checking
          accounts, credit union accounts, pension plans, profit sharin~~s, retirement plans,
          IRA's, cash, stocks, bonds, annuities, portfolios, jewelJ~~r things of value presently
          within the sole exclusive possession and control of~tDe;jerty, not disposed of through
          this Agreement, shall henceforth be the sole , ~ ~ v e property of the party having
          such possession and control, and the ot~N~is divested of all right, title and interest
          therein. All joint accounts shall be cl~: ' \
                  6.      EQUALIZATION ~ ~ ) : The Husband shall pay to the Wife an
          equitable distribution equal~~;,li ~ amou. nt of $85,500.00. Said equalization shall
          be satisfied by the Husbac'd p ~ the Wife $25,500 within 14 days of the entry of the
          Final Judgment.        Comm~g November 15, 2022, the Husband shail satisfy the
          remaining $60,000.~ance by paying the Wife $1,000.00 per month on the 15 th day
                       "''
          of each mo~t\~ilti! the remaining equalization balance has been paid. Additionally, the
           Husband ·~1 ~i<e an additional payment in the amount of $5000 towards the balance
                    ~    ·1
           6 m ~ ~ r the entry of the Final Judgment.
                   '•

            · ~ Wife shall be entitled to interest on the outstanding equalization payment
           balance in the amount of 4% per annum until paid in full.
                  7.      LIABILITIES:
                          A.      Except as specifically provided for herein, each party shall solely and




                                                             6




    FILED: PALM BEACH COUNTY_ FL JOSEPH ABRUZZO_ CLERK. 1/4/2024 3:15:45 PM
